                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                               SOUTHERN DIVISION
                                  No. 7:23-CV-897

IN RE:                        )
CAMP LEJEUNE WATER LITIGATION )
                              )
This Pleading Relates to:     )
ALL CASES                     )

        PLAINTIFFS’ LEADERSHIP GROUP’S MEMORANDUM OF LAW
IN SUPPORT OF MOTION TO COMPEL DOCUMENT PRODUCTION IN RESPONSE
            TO SEVENTH SET OF REQUEST FOR PRODUCTION

       For the following reasons, the Plaintiffs’ Leadership Group (“PLG”) respectfully requests

that the Court grant the Motion to Compel Document Production in Response to Seventh Set of

Request for Production.

                                      INTRODUCTION

       The PLG is finalizing the depositions of key government personnel involved in various

ways with the Camp Lejeune water contamination, including persons involved with studies

conducted by the Agency for Toxic Substances and Disease Registry (“ATSDR”), representatives

of the U.S. Department of Veterans Affairs (“VA”), and others. Unfortunately, the PLG has

encountered a recurring problem during these depositions: namely, these witnesses frequently

testify that they possess troves of discoverable documents about Camp Lejeune that have not been

produced during discovery. For example, the Chief Consultant with the Health Outcomes Military

Exposures division of the VA, Patricia R. Hastings (“Dr. Hastings”), testified on May 14, 2024

that she possessed “documents related to Camp Lejeune . . . on the C drive or hard drive of [her]

office computer.” [Exhibit 6, Excerpts from Deposition of Hastings 5/14/2024 at p 9:13-9:21

(“Hastings Depo (Second)”)].




         Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 1 of 12
        In an effort to address this recurring issue, the PLG served its Seventh Set of Requests for

Production on June 18, 2024. [Exhibit 1, PLG’s Seventh Set of Requests for Production (“Seventh

RFP”)]. The Seventh RFP should have been completely uncontroversial and was practical in

nature. That discovery request contained a list of ten key witnesses who the PLG either previously

or imminently will depose. The Seventh RFP asked the government to make contact with these ten

key witnesses and produce responsive documents in each witness’s possession.

        Unfortunately, the government objected and has substantially refused to produce

documents in response to the Seventh RFP. 1 Meanwhile, the PLG has been taking the depositions

of the witnesses listed in the Seventh RFP, and consistently, these deponents testified that they

possess documents related to Camp Lejeune. This recurring problem has caused material delays

in the completion of discovery and the ability to finalize the depositions of these key witnesses.

                                          BACKGROUND

I.      The PLG Served the Seventh RFP Because of a Recurring Problem Where Deponents
        Possessed Discoverable Documents That Had Not Been Produced.

        This recurring problem of deponents possessing responsive discoverable documents dates

back to December 5, 2023, when the PLG took the deposition of James D. Baker, Jr. (“Mr. Baker”),

who is the Chief Records Officer of the ATSDR. During that deposition, Mr. Baker revealed that

he possessed a “folder” that was “entitled Camp Lejeune Military RES.” [Exhibit 5, Excerpts from

Deposition of Baker at p 34:2-34:5 (“Baker Depo”)]. Mr. Baker further testified that the folder was

“at [his] building in [his] office.” Id. at 34:7-34:11. Moreover, Mr. Baker testified that, prior to his




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           As will be discussed in more detail below, the government agreed to produce some
documents possessed by these witnesses. However, the government’s partial production does not
satisfy its duties under the Discovery Rules.

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            Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 2 of 12
deposition, he notified his superiors that he had located these documents, yet no effort was

undertaken prior to his deposition to review and/or produce these documents. Id. at 47:2-47:22.

       The documents possessed by Mr. Baker were clearly responsive to the PLG’s Corrected

First Set of Requests for Production. For instance, Individual Request No. 8 sought any

“publication, report or study concerning water contamination issues at Camp Lejeune” possessed

by the ATSDR. [D.E. 81-3 at p 11].

       That problem continued when the PLG took the first deposition of Dr. Hastings on

December 6, 2023. During her first deposition, the PLG learned that Dr. Hastings possessed

discoverable documents on her work laptop. [Exhibit 9, Excerpts from Deposition of Hastings

12/6/2023 at pp 80:18-81:19 (“Hastings Depo (First)”)]. Further, Dr. Hastings testified that she

had not been asked by the Department of Justice, the Office of General Counsel, or others to

provide information related to Camp Lejeune. Id. at 104:2-104:11. During Dr. Hastings’ second

deposition on May 14, 2024, these problems amazingly persisted. Dr. Hastings testified as follows:

                       Q       After your deposition, were you requested or did you
               make available some documents or your laptop or computer files so
               that they could be reviewed by someone in case they were relevant?
                       [Objection from Defense Counsel]
                       A       I did not give my computer to anyone, and my files
               could be accessed by VA without my knowledge, but I do not know
               that they were.
                       Q       All right. Do you have any documents related to
               Camp Lejeune in any fashion that are saved on the C drive or the
               hard drive of your office computer?
                       A       Yes.
               ....
                       A       It’s various files, but it’s e-mails and then materials
               that pertain to Camp Lejeune, whether it be the Community
               Assistance Panel meetings, briefings. Some of the materials that
               have been done by the National Academy of Sciences, Engineering,
               and Medicine that I’ve downloaded. Scientific articles.

Hastings Depo (Second) at pp 9:2-10:8.



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         Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 3 of 12
       Hence, Dr. Hastings—a key witness in this proceeding—testified on December 6, 2023

that she possessed discoverable documents, and yet the government had seemingly made no effort

to retrieve these discoverable documents from Dr. Hastings prior to her second deposition on May

14, 2024. Obviously concerned, the PLG was forced to spend expend considerable time preparing

and sending a detailed deficiency letter to the government on May 18, 2024 about this situation

with Dr. Hastings. [Exhibit 4, Letter of May 18, 2024 (“Hastings Letter”)]. The government

eventually produced certain discoverable documents identified specifically by Dr. Hastings, but

the government still has not produced all discoverable documents in Dr. Hastings’ possession.

Moreover, it should not be necessary for the PLG to expend such extensive resources to obtain Dr.

Hastings’ discoverable documents.

       These issues recurred when the PLG deposed Jennifer McDonald (“Ms. McDonald”) on

June 4, 2024. Ms. McDonald was a NAVFAC contracting officer involved with the muster roll

digitization project. During her deposition, Ms. McDonald testified that her work laptop may

contain “a request for proposal, funding information, contractor’s proposal, business determination

documentation as far as evaluating the proposal, . . . the contract award documents[,] [and] [m]aybe

some miscellaneous correspondence with respect to awarding the task order.” [Exhibit 7, Excerpts

from Deposition of McDonald at p 22:14-22:24 (“McDonald Depo”)]. These documents were not

previously produced in discovery.

II.    The PLG Served the Seventh RFP.

       In an effort to avoid the delays encountered during the depositions of Mr. Baker, Dr.

Hastings, and Ms. McDonald, the PLG served the Seventh RFP on June 18, 2024. The Seventh

RFP consisted of one individual request for production:

                       1.     After interviewing the below government employees, please
               identify and produce all relevant documents (including hard copies), emails,

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         Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 4 of 12
               native files, power-points, research materials, spreadsheets, maps,
               diagrams, working drafts, memorandums, communications, notes and any
               other file materials contained on any computer storage device these
               employees saved their working materials or these files, regardless if an
               office computer or personal laptop/home computer, related to Camp
               Lejeune Water Contamination issues:
                      Patricia Hasting[s]
                      Frank Bove
                      Christopher Re[h]
                      Ron Burke
                      Dan Waddill
                      Scott Williams
                      Chris Rennix
                      Tim Reisch
                      Sason Sautner
                      René Suárez-Soto

Seventh RFP at p 2.

       The number of government employees or representatives possessing discoverable

knowledge about the water contamination at Camp Lejeune is extensive. The PLG dedicated

significant attention to narrowing down the list within the Seventh RFP to merely ten witnesses. 2

In its effort to keep the list relatively short, the PLG named only certain key witnesses with material

and important involvement in the issues in this action. The witnesses included within the Seventh

RFP are as follows: (1) Patricia Hastings, D.O., Chief Consultant, Health Outcomes Military

Exposures with the VA; (2) Frank Bove, Senior Epidemiologist with ATSDR; (3) Christopher

Reh, Associate Director of ATSDR; (4) Ron Burke, VA Deputy Under Secretary for Policy and

Oversight; (5) Dan Waddill, Ph.D., NAVFAC Branch Head; (6) Scott Williams, environmental



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         In addition to the Seventh RFP, the PLG included similar production requests in Notices
of Deposition to several of these ten witnesses. Moreover, the PLG served document production
requests in Notices of Deposition to three additional witnesses, namely (1) James Hatcher, (2) Tim
Mallon, and (3) Justin Ramsey. E.g., [Exhibit 3, Letter of July 19, 2024 at p 1]. The government
served an objection to these deposition notices that adopted essentially the same position as the
government’s Response to Seventh RFP. Id. at 1-2. The government seemingly refused to produce
any documents in the possession of James Hatcher, Tim Mallon and Justin Ramsey.

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           Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 5 of 12
facilities employee for Headquarters Marine Corps at Camp Lejeune; (7) Chris Rennix, Navy

Environmental Health Center; (8) Tim Reisch, retired project manager for NAVFAC; (9) Jason

Sautner, ATSDR Scientist; and (10) René Suárez-Soto, ATSDR Scientist. All of these individuals

were deeply involved with either the government’s study of the environmental disaster at Camp

Lejeune, as well as compilation and storage of critical documents (such as muster rolls, NRC files

and water modeling files) related to the presence of Marines at Camp Lejeune. The PLG is in the

process of taking the depositions of all of these ten key witnesses.

        The PLG anticipated that the government would object that this request would require

purportedly time-consuming searches for electronically stored information (“ESI”). Therefore, the

PLG included a clarification in the Seventh RFP that the “request is not intended to require a

‘search’ using traditional ESI search terms to locate responsive files and document.” Seventh RFP

at p 1 n.2.

        Based on the PLG’s experience with Mr. Baker, Dr. Hastings, and Ms. McDonald, the PLG

intended the Seventh RFP to be both a narrowly tailored and practical solution to the recurring

problem of discoverable documents being uncovered during depositions. The PLG believed that,

if these discoverable documents were produced prior to depositions, then all parties would benefit

from efficiencies during depositions and the avoidance of wasteful letter-writing campaigns and

motions practice concerning the production of discoverable documents.

III.    The Government’s Objections to the Seventh RFP

        On July 8, 2024, the government served its Responses and Objections to Plaintiffs’ Seventh

Request for Production of Documents. [Exhibit 2 (“Response to Seventh RFP”)]. The objections

within the government’s Response to Seventh RFP generally lacked merit. For instance, the




                                                 6

          Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 6 of 12
government objected that several words or phrases were “vague and ambiguous,” such as “maps,”

“memorandums,” and “power-points.” Id. at 3. These words are not “vague and ambiguous.”

       The parties held multiple meet and confers concerning the Response to Seventh RFP. The

government has agreed to produce the responsive hardcopy documents within the possession of

these ten witnesses. Further, the government has agreed to produce certain non-privileged emails

sent or received by Frank Bove and Christopher Rennix, as well as certain ESI possessed by

Christopher Rennix. Finally, the government has produced certain documents specifically

identified during Dr. Hastings’ depositions but, upon information and belief, has not produced all

discoverable documents in Dr. Hastings’ possession. Response to Seventh RFP at pp 6-7; see also

[Exhibit 3, Letter of July 19, 2024 at p 2]. Otherwise, the government has refused to produce

documents or files responsive to the Seventh RFP.

       Hence, the government has seemingly declined to produce any materials whatsoever in the

possession of Christopher Reh, Ron Burke, Tim Reisch, Jason Sautner and René Suárez-Soto.

Response to Seventh RFP at pp 6-7. In addition, the government has seemingly declined to produce

all non-privileged electronic files possessed by Frank Bove, Dan Waddill, Scott Williams, and

Chris Rennix. Id.

IV.    Deponents Continue to Testify That They Possess Discoverable Documents That Have
       Not Been Produced.

       The government’s refusal to produce all documents responsive to the PLG’s Seventh RFP

has caused further problems during recent depositions. For example, Timothy Reisch (“Mr.

Reisch”), retired NAVFAC Project Manager, was deposed on June 28, 2024. During his

deposition, Mr. Reisch testified that he maintained files on his work laptop related to his

involvement with the muster roll digitization project regarding Camp Lejeune. [Exhibit 8, Excerpts

from Deposition of Reisch at p 40:11-40:22 (“Reisch Depo”)]. As illustrated by prior motions

                                                7

         Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 7 of 12
practice, these muster roll documents are potentially very important to the PLG’s efforts to identify

when and where claimants were located at Camp Lejeune. E.g., [D.E. 140-141]. However, the

government has declined to produce these documents identified during the deposition of Mr.

Reisch.

          As another example, NAVFAC employee Dr. Dan Waddill (Navy lead reviewer of ATSDR

water modeling) testified on August 6, 2024, that he too had documents related to Camp Lejeune

on his government laptop and that no one had ever asked him for a copy, although he had advised

the Department of Justice of the existence of the documents. [Exhibit 10, Excerpts from Deposition

of Waddill at pp 20:12-23:17 (“Waddill Depo”)]. 3

                                           ARGUMENT

I.        The Seventh RFP Seeks Clearly Discoverable Documents.

          Respectfully, the government should be compelled to produce all non-privileged

documents responsive to the Seventh RFP. As explained above, the Seventh RFP is designed to

address a very real and recurring problem of deponents appearing at depositions and testifying that

they possess unproduced discoverable documents. By way of example, the PLG uncovered during

a deposition that Mr. Baker possessed unproduced documents concerning the ATSDR’s work on

Camp Lejeune possessed. Baker Depo at p 34:7-34:11. As another example, the PLG learned

during another deposition that Mr. Reisch’s work laptop contained unproduced documents

concerning the muster roll digitization project. Reisch Depo at p 40:11-40:22. This recurring

problem would be eliminated if the government fully responded to the Seventh RFP. Instead, the


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         Pursuant to the Stipulated Protective Order, all deposition transcripts are automatically
designated as confidential for thirty (30) days. [D.E. 36 at ¶ 3(e)]. There is no confidential
information in Dr. Waddill’s transcript, however, pursuant to the Stipulated Protective Order, Dr.
Waddill’s transcript is not publicly filed. Instead, that transcript will be provided to the Court for
in camera review.

                                                  8

              Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 8 of 12
PLG has been forced by the government to take depositions without possessing all discoverable

materials, and therefore, the PLG’s examinations of these ten witnesses have not addressed any

issues arising out of whatever discoverable materials have been withheld. This puts the PLG at a

grave and unfair disadvantage.

       The Seventh RFP is limited to only ten witnesses, and those witnesses are among the most

crucial witnesses in this action. By way of example, the Seventh RFP seeks documents from Frank

Bove, who was the Senior Epidemiologist with the ATSDR during its study of the water at Camp

Lejeune and health effects caused by that water. Seventh RFP at p 2. Hence, the Seventh RFP is

clearly “proportional to the needs of the case” as contemplated by Fed. R. Civ. P. 26(b)(1).

II.    The Government’s Objections Lack Merit.

       The government’s Response to Seventh RFP asserted a panoply of objections. Response to

Seventh RFP at pp 3-6. However, these objections lack merit. Some of the government’s more

prominent objections are addressed below:

       Vague and Ambiguous. The government asserted that the PLG’s Seventh RFP was vague

and ambiguous. Response to Seventh RFP at p 3. This objection is simply inaccurate and should

be disregarded. For instance, the government objected that the following terms were somehow

vague and ambiguous: “power-points,” “maps,” “diagrams,” “memorandums,” and “notes.” These

terms have obvious and clear meanings. In any event, during the parties’ meet and confers

concerning the Seventh RFP, the government has not requested definitions of these terms.

       Deadline for Fact Discovery. The government bemoaned that the Seventh RFP was too

late in the discovery process to justify a full response. Response to Seventh RFP at p 3. This

objection should be rejected. The fact discovery deadline is presently August 12, 2024. The

Seventh RFP was served on June 18, 2024—well before the deadline for fact discovery. There is



                                                9

         Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 9 of 12
no local rule or Court order providing that the Seventh RFP was untimely. Instead, the government

has unilaterally and artificially dictated when it will continue to entertain further discovery

requests. The Seventh RFP was timely and should receive a full response from the government.

       Breadth. The government asserted that the Seventh RFP is overly broad. Response to

Seventh RFP at p 3. Again, this objection should be rejected. The PLG limited its request to ten

key witnesses who have been or imminently will be deposed. As part of its deposition preparation

process, the government could conveniently interview each witness about the existence of

discoverable documents.

       ESI Objections. The government objected that the Seventh RFP would require broad

searches for ESI. Response to Seventh RFP at pp 3-5. To the contrary, the Seventh RFP explicitly

stated as follows: “Plaintiffs’ request is not intended to require a ‘search’ using traditional ESI

search terms to locate responsive files and document.” Seventh RFP at p 1 n.2. Further, the

government incorrectly claimed that the PLG previously agreed to withdraw all ESI requests.

Response to Seventh RFP at p 4. To the contrary, the PLG withdrew previous requests for ESI but

explicitly reserved the right to propound subsequent requests for ESI. [D.E. 98 at p 10 (“First, the

PLG plans to withdraw several ESI requests in the First Request, reserving our right to address

them at a later time.” (emphasis added))]. In any event, the Seventh RFP does not seek ESI, as

described above.

                                         CONCLUSION

       The PLG respectfully requests that the Court enter an order compelling the government to

produce all non-privileged documents responsive to the Seventh RFP, provide a log of all

responsive documents withheld on the basis of privilege, and grant such other relief as appears just

and proper.



                                                10

        Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 10 of 12
    DATED this 8th day of August, 2024.

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                                              11

     Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 11 of 12
                               CERTIFICATE OF SERVICE

       I, J. Edward Bell, III, hereby certify that the foregoing document was electronically filed

on the Court’s CM/ECF system on this date, and that all counsel of record will be served with

notice of the said filing via the CM/ECF system.

       This the 8th day of August, 2024.


                                            /s/ J. Edward Bell, III________________
                                            J. Edward Bell, III




                                               12

        Case 7:23-cv-00897-RJ Document 273 Filed 08/08/24 Page 12 of 12
